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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

 TOMMY ROBINSON,
   Plaintiff,

    v.

 UNKNOWN NAME PERSON IN CHARGE,
   CORIZON HEALTH CARE,                                   Civil Action No. DKC-19-2997
 BRENDA REESE,
 DR. BERNARD McQUILLAN,
 DR. PAUL GOODMAN,

    Defendants.


                                              ORDER

         For the reasons stated in the foregoing Memorandum Opinion, it is this 11th day of January,

2021, by the United States District Court for the District of Maryland, hereby ORDERED that:

         1.       Plaintiff’s motion titled “Motion to Court for Emergency Investigation and
                  Appointment of Counsel ASAP” (ECF No. 57-4 at 32) BE, and the same hereby
                  IS, DENIED;

         2.       Plaintiff’s motion for the appointment of counsel (ECF No. 36) BE, and the same
                  hereby IS, DENIED;

         3.       Defendants’ motions to dismiss or for summary judgment (ECF Nos. 26, 27, & 30),
                  construed as motions for summary judgment, ARE GRANTED;

         4.       Judgment BE, and the same hereby IS, ENTERED against Plaintiff Tommy
                  Robinson and in favor of Defendants on all claims in Plaintiff’s complaint as
                  supplemented; and

         5.       The Clerk SHALL SEND a copy of this Order and the Memorandum Opinion to
                  Plaintiff and to counsel of record and CLOSE this case.



                                              __________/s/__________________
                                              DEBORAH K. CHASANOW
                                              United States District Judge
